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                           UNITED STATES DISTRICT COIJRT
                            NORTIIERN DISTRICT OF TEXAS
                                  ABILENE DTVISION

A.A.R.P., on his own behalf and on behalf
of all others similarly situated, et a1.,

        Petitioners -Plaintiffs,

v.                                                            No. 1:25-CV-059-H

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

        Respondents-Defendants.

                                           ORDER
       Before the Court is the petitioners' motion to proceed under pseudonyms. Dkt. No.

4. Given the sensitive and personal information about their immigration status and histories
in this case, the Court gants the motion (Dkt. No. 4). The petitioners may proceed under

the pseudonyms A.A.R.P. and W.M.M.

       So ordered on April 16,2025.




                                                         STATES DISTRICT JUDGE
